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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                                  MAY 1 8 2023|
                                             PRO SE OFFICE""
                                                               1
                                             ■X


 CLEMENT LOWE,DIN# OO-A-2910                              23-cv-3754-NRM
                          Plaintiff,                         PETITION UNDER
                                                             28 U.S.C.A. § 2254
                                                             FOR A WRIT OF
       -against-                                             HABEAS CORPUS



 MARK MILLER, Superintendent of the
 Green Haven Correctional Facility,

                          Respondent.
                                             X


                                       PETITION


       1.    Petitioner submits this petition in support of his request for a writ of

 habeas corpus pursuant to 28 USC 2254.

       2.    The name and location of the court which entered the judgment under

 attack is Kings County Court, located at: 320 Jay Street, Brooklyn, New York

 11201.


       3.    The name of the lawyer who represented petitioner at pretrial and trial

 is James Koenig (whose address is not known at this time); and at pretrial by

 Robert Newman from the Legal Aid Society (William T. Martin and Associates)

       4.    The date of the judgment of conviction is March 22, 2000.
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       5.    The length of the sentence that petitioner received is 22 years on the

 attempted murder conviction and 12 years on the kidnapping conviction, to run

 concurrently with the terms of the imprisonment imposed on the remaining

 offenses.


       6.    The nature of the offenses involved are: Attempted Murder in the

 Second Degree; Kidnapping in the Second Degree, Criminal Possession of a

 Weapon in the Second Degree and Menacing in the Second Degree.

       7.    The petitioner entered a plea of not guilty. There was a trial by jury

 where Petitioner testified on his own behalf.


       8.    Petitioner filed a Direct Appeal to the New York State Supreme

 Court, Appellate Division, Second Department. The brief was perfected by Yvonne

 Shivers, Esq. The Second Department affirmed the conviction. (See People v.

 Lowe.300 AD2d 509(2002).

       9.    The Grounds raised were:(1)that he was deprived of a fair trial by the

 introduction of evidence of uncharged crimes; (2) that his conviction for

 kidnapping Cheryl Lyons merged with his conviction for menacing her at

 gunpoint; and (3) that the trial court erred in permitting Hollis Evertz to make a

 statement at sentencing and that Petitioner's sentence was excessive.

       10.   Petitioner filed a pro se Supplemental Brief in which he raised the

 following grounds:(1) that the hearing court erred in denying Petitioner's motion
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 to suppress physical evidence by applying the emergency doctrine to the warrant

 requirement; (2) that the hearing court erred in refusing to suppress Petitioner's

 statement to a police officer that he had a gun in his car; (3) that Petitioner was

 deprived of a fair trial by the introduction ofevidence of uncharged crimes;(4)that

 Petitioner's videotaped statement to law enforcement authorities was inadmissible

 because he had asserted his right to counsel and the statement was made in the

 absence of counsel; and (5) that Petitioner's statements to law enforcement

 authorities should have been suppressed as the product of police coercion.

       11.    An application for leave to appeal to the New York State Court of

 Appeals was filed and subsequently denied by the court. People v. Lowe. 99

 N.Y.3d 630 (2003). The ground raised therein was the same as those raised in the

 main and pro se supplemental brief.

       12.    A collateral attack in the form of a motion to vacate the conviction

 was filed on May 23, 2005. The claims raised therein are: (1) Petitioner's trial

 attorney was ineffective for failing to investigate a variety of issues related to

 Petitioner's substantive claims; and (2) the prosecutor withheld certain favorable

 evidence from Petitioner in violation of Bradv v. Marvland. and knowingly

 presented perjured testimony at Petitioner's trial.
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        13.   The court (Parker, J.) denied the motion in a Decision and Order

 entered on November 16,2009.

        14.   No petition for a Writ of Certiorari was filed.



                                          FACTS


 Introduction:


        15.   The instant motion presents a question of law involving error in the

 criminal court proceedings against the construction ofthe constitutional, validity of

 statutory provisions GPL §190.50(5)(A)(B); GPL §210.20(1)(G); GPL §210.35(4);

 GPL §440.30(7); GPL §710.60(6); New York constitution Article I, section 6, to

 such a degree that petitioner is convicted on a defective indictment and is serving

 thirty four(34) years in state prison.

        16.   The state court's interpretation of the right to testify before a grand

 jury is at odds with precedent, settled rules of statutory construction, and state's

 legislative history.

        17.   Petitioner was indicted by the Kings Gounty Grand Jury under

 indictment number 9283-98 for the crime of Attempted Murder in the Second

 Degree; Kidnapping in the Second Degree; Griminal Use of a Firearm in the First

 Degree (two counts); Assault in the First Degree; Assault in the Second Degree
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 (two counts); Criminal Possession of a Weapon in the Fourth Degree; Menacing in

 the Second Degree (three counts); and Menacing in the Third Degree.

       18.   At arraignment Petitioner entered plea of not guilty.

       19.   On March 22, 2000, Petitioner was sentenced by Hon. Levanthal, J.,

 to consecutive terms of imprisonment: 22 years on the attempted murder

 conviction and 12 years on the kidnapping conviction, to run concurrently with the

 terms of the imprisonment imposed on the remaining offenses.

       20.   Petitioner sought to vacate his judgment of conviction. Also sought,

 was an evidentiary hearing to determine the merits of the GPL §440.10 motion,

 pursuant to GPL §440.30(5).

       21.   The said 440.10 motion contained three point headings: (1) that the

 Petitioner was deprived of his right to appear before the Grand Jury; (2) that the

 Petitioner was deprived his right to court appointed attorney at an in-court lineup

 identification, and (3) that the Petitioner was deprived of his right to effective

 assistance of counsel regarding counsel's failure to make application for release of

 Petitioner from custody upon failure oftimely disposition.


 PETITIONER WAS DEPRIVED OF HIS RIGHT TO TESTIFY AT THE
 GRAND JURY


       22.   The Grand Jury proceeding involving an attempted murder,

 kidnapping, assault, criminal possession of a weapon and menacing allegedly
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 committed by Petitioner on September 9, 1998, in Kings County. Upon the basis of

 the filing of this complaint, Petitioner was initially arraigned in the criminal court.

 Kings County on September 10, 1998, and the matter was adjourned to September

 15, 1998. In the meantime, on September 11, 1998, Petitioner served written notice

 on the District Attorney pursuant to CPL §190.50(5)(a) prior to the commencement

 of Grand Jury proceedings a timely notice of an intent to testify before such Grand

 Jury. In response the Assistant District Attorney state in writing that the People are

 going to make arrangements for the Kings County Grand Jury to hear Petitioner's

 testimony within one to two weeks time, which did not satisfy the requirements of

 CPL §190.50(5)(b) to inform Petitioner or counsel of the date, location, and time

 of the Grand Jury presentation. Notwithstanding the written notification of

 Petitioner's intent to testify, the prosecutor submitted the case on the morning of

 September 25, 1998, to the Kings County Grand Jury with an indictment being

 voted without hearing Petitioner, and hastily filed in the afternoon of the same day,

 September 25, 1998. Conversely, the People never respond to, or otherwise deny

 these factual allegations of the Grand Jury issue raised in the Petitioner's other

 motion nor the 440.10 motion. Nevertheless, the Supreme Court in its October

 2021, Decision and Order, denied this branch of Petitioner's 440.10 motion

 without setting forth on the record its findings of fact, conclusion of law, and the
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 reasons for its determination in accordance with CPL §440.30(7), and CPL

 §710.60(6).

       23.     The Appellate Division, Second Judicial Department's power to

 entertain and decide this issue is defined by CPL §440.30(7); CPL §710.60(6);

 CPL 210.45(4)(c); and pursuant to this Court's decision in People v. Gini. 72

 A.D.2d 752(1979); Matter of Borello v. Balbach. 112 A.D.2d 1051 (1985); People

 V. Skrine. 125 A.D.2d 507 (1986), holding that Petitioner was denied his right to

 testify before Grand Jury, indictment dismissed; People v. Costas. 248 A.D.2d 482

 (1998), holding that Petitioner had been denied his right to testify before Grand

 Jury, People did not respond to pro se motion, and trial court never decided it or

 gave any explanation as to why it did not rule upon motion, indictment dismissed;

 People V. Frantz. 57 A.D.3d 692 (2008), holding that it was error to deny

 Petitioner's motion without setting forth on the record its findings of fact,

 conclusion oflaw, and the reasons for its determination, indictment dismissed.

       24.     The Ineffective Assistance of Counsel issue raised in Petitioner's

 440.10 motion in the court below, asserts that the Court assigned counsel, Robert

 Newman from the Legal Aid Society, was the first attorney assigned to the instant

 case on September 10, 1998, and who was or should have been aware of the facts

 of this case. In particular, that on September 9, 1998, at 1:30p.m., Petitioner was

 arrested, and who, since time of his arrest, has been confined in such custody for a
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 period of more than 144 hours without either a disposition of the felony complaint

 or commencement of a hearing; and that counsel should have made an application

 for Petitioner's release from custody pursuant to CPL 180.80, which requires the

 release of Petitioner being held in pretrial detention pending action of a Grand Jury

 after 120 or 144 hours of custody. The People never challenged these factual

 allegations of ineffective assistance of counsel contained in Petitioner's other

 motion nor his 440.10 motion; and the Supreme Court in its Decision and Order,

 denied this branch of Petitioner's 440.10 motion without setting forth on the

 record, its findings offact, conclusion of law, and the reasons for its determination.

 In People v. Franz. 57 AD3d 692 (2008), this Court reversed Petitioner's

 conviction on ground that the Supreme Court failed to set forth its findings of fact,

 conclusion of law, and reasons for its determination on the issue of ineffective

 assistance of counsel. See, CPL §440.30[7]; People v. Williams, 184 A.D.2d 608

 [1982]; People v. Brown.66 A.D.2d 785,786.

       25.    The in-court lineup identification was conducted on September 10,

 1998, without the presence of the court appointed counsel from the Legal Aid

 Society. Whereupon, Petitioner thereafter apprised defense counsel of the situation

 but defense counsel failed to give the minimum attention and care to such matter,

 to the extent that on October 13, 1998, Petitioner told the court that defense
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 counsel was not giving him meaningful representation, and asked that defense

 counsel be removed from the case.


          26.      Under the circumstances, on September 28,1998,Petitioner submitted

 a pro se motion pursuant to CPL §§190.50(5)(c); 180.80; 210.20(l)(c); 210.35(4);

 U.S. Const. Amends. VI, XIV, to the Supreme Court, on grounds seeking release

 from custody pursuant to CPL §§190.50(5)(c), 180.80, and failure to provide him

 with court appointed attorney at an in-court lineup identification pursuant to US

 Const. Sixth and Fourteenth Amendments. After the September 15, 1998

 adjournment. Petitioner's next court date was October 13, 1998, upon Petitioner's

 appearance in court, he orally informed the Court that he wants to testify before the

 Grand Jury; The judge responded that he recognized Petitioner's right to testify at

 Grand Jury but the instant case is a domestic violence matter and that this case will

 be transferred to that trial part ofthe court. The Court did not rule on that motion.

          27.      On June 23, 2021, Petitioner submitted a CPL §440.10(l)(h) motion,

 pro se, to the Kings County Supreme Court^ and a copy was served on the People.
 On July 20, 2021, the Court served notice that said 440.10 motion has been placed

 on the motion calendar for September 13, 2021. Thereafter, Petitioner sent a letter

 to the District Attorney, requesting a copy of any moving papers that they have

 sent, or intends to send to the Court regarding said 440.10 motion in question.

 ^ Circumstances beyond Petitioner's control why he could not have brought the CPL 440.10 motion earlier, are fully
 explained in his 440.10 motion at pages 5-7 attached herein as Petitioner's Exhibit i.
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  Later, the Petitioner had received from the People "copy of a letter dated

  September 20, 2021 that they had sent to the Honorable Raymond L, Rodriguez,

  stating that the People are writing to confirm that Your Honor had adjourned the

  return date on the above-referenced motion pursuant to CPL §440.10, currently

  pending before the Court, to October 29, 2021, for the People's response;" which

  includes Petitioner's reply opposing the People's request. However, the People

  have failed to respond to Petitioner's 440.10 motion, or otherwise deny his

  allegations; therefore, the facts asserted by the Petitioner are deemed conceded.

        28.   Indeed, CPL §210.45 (subd. 4, par [c]) provides that the court must

  grant the motion without conducting a hearing if the sworn allegations of fact

  essential to support the motion are either conceded by the People to be true or are

  conclusively substantiated by unquestionable documentary proof. In People v.

  Gruden, 42 N.Y.2d 214, 397 N.Y.S.2d 704, the Court have granted Petitioner's

  motion on ground that the failure of the People to raise an issue of fact in their

  answering papers is tantamount to a concession on their part as to the moving

  papers.


        29.   On October 25, 2021, Petitioner received a Decision and Order from

  the Supreme Court, denying Petitioner's 440.10 motion without setting forth on the

  record its findings of fact, its conclusion of law and the reasons for its

  determination regarding the Grand Jury issue as well as failing to mention


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  Petitioner's CPL §§180.10 or 180.80 claims. Whereas, the absence of such

  required explanation thus transgresses CPL §710.60(6); CPL §440.30(7), which

  requires the Court to set forth on the record its findings of fact, conclusion of law,

  and the reasons for its determination.

        30.     Pursuant to October 25, 2021, Amendments of CPL §440.10(2)

  par.p?] and [c]. The ineffective assistance of counsel claim was properly raised in

  Petitioner's 440.10 motion in the lower court. Additionally, in light of the fact that

  the People never challenged any of the Petitioner's factual allegations contained in

  his 440.10 motion. This Court has the authority to make its own findings of fact

  and conclusion of law. People v. Jones. 247 A.D.2d 272; People v. Morgan, 226

  A.D.2d 398.




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              GROUNDS RAISED FOR HABEAS CORPUS RELIEF.

  Standard:


        The Anti-Terrorism and Effective Death Penalty Act of 1996 ("AEDPA")

  mandates that a writ of habeas corpus shall not be issued unless a state court's

  decision was "contrary to, or involve an unreasonable application of, clearly

  established Federal law as determined by the Supreme Court of the United States."

  (28 U.S.C. §2254(d)(l)), or that it was based on an "unreasonable determination of

  facts in light of the evidence presented in the State court proceedings"(28 U.S.C.

  §2254(d)(2)). See Williams v. Tavlon 529 U.S. 362,402-03 (2000),

        Regarding the first standard, "an unreasonable application of federal law is

  more than an incorrect application, but the petition need not show that all

  reasonable jurists would agree that a state court determination is incorrect in order

  for it to be unreasonable." Yung v. Walker. 341 F.3d 104, 109-10 (2"^ Cir. 2003).

  Under the second standard, the state court's determinations of facts shall be

  "presumed to be correct," and the habeas petitioner "shall have the burden of

  rebutting the presumption of correctness by clear and convincing evidence." 28

  U.S.C. §2254(e)(l).




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        PETITIONER WAS DEPRIVED OF IDS RIGHT TO APPEAR
        BEFORE THE GRAND JURY C.P.L. §190.50 [5][c]; C.P.L.
        §210.35 [4]; C.P.L. 210.20 [l][c]; U.S. CONST. AMEND. VI.
        AND XIV; N.Y. CONST.ART.1 SEC.6

  Right to Testify at Grand Jury

        CPL §190.50 [5][a[ provides that a Petitioner's request to testify is timely as

  long as it made prior to the filing of the indictment. Where, as here, Petitioner's

  September 11, 1998 letter satisfied the statutory requirements for notifying the

  People of a request to appear before the Grand Jury, inasmuch as the letter was

  served upon the District Attorney prior to the filing of an indictment, asserted

  Petitioner's right to appear in an impending grand jury proceeding, and set forth an

  address to which communications may be sent. The prosecutor nevertheless

  proceeded to present criminal charges to the Grand Jury and obtained a vote on

  September 25, 1998, without affording Petitioner the right to appear as a witness in

  his own behalf at the Grand Jury.

  Time and Place of Grand Jury

        Pursuant to C.P.L. §190.50 [5][b], upon service upon the district attorney of

  notice requesting appearance before a grand jury pursuant to paragraph [a], the

  district attorney must serve upon the applicant a notice that he will be heard by the

  grand jury at a given time and place. Here, after Petitioner sent a written letter to

  the district attorney that triggered Petitioner's right to appear before the grand jury,

  the responsive letter from the People failed to satisfy statutory requirements of
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  informing Petitioner of time and place of grand jury presentation as is required by

  C.P.L. §190.50 [5][b]; responsive letter merely stated that the People are going to

  make arrangements for the Kings County Grand Jury to hear Petitioner's testimony

  within one to two weeks time, did not provide Petitioner with the requisite notice

  ofthe time and place ofthe grand jury presentation GPL §190.50 [5][a][b].

        As the New York Court of Appeals has noted in People v. Evans, 79 N.Y.2d

  407, 413-414, C.P.L. §190.50 [5] protects Petitioner's "valued" statutory option to

  appear at this critical accusatory stage to offer testimony that may affect the Grand

  Jury's consideration of the otherwise exclusive, ex parte presentment of evidence

  by the prosecution. To guard against abridgement of this "valued" right, the New

  York Court of Appeals has ordered that it must be scrupulously protected. Id

  (affirming dismissal of indictment because statutory right to testify was not

  satisfied by opportunity to appear after Grand Jury had voted); People v. Smith, 87

  N.Y.2d 715; People v. Corrigan. 80 N.Y.2d 326.

        Furthermore, the Petitioner was not required to resubmit a valid notice

  invoking his right to appear before grand jury C.P.L. §190.50 [a], [b].

  Nevertheless, upon Petitioner's appearance in court after he was indicted on

  September 25, 1998, in open court. Petitioner maintained that his right to testify

  before the grand jury had been violated and that he wanted to testify before the

  grand jury. At which point, the Court's response was that the instant case was a


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  domestic matter, and would be transferred from his courtroom to the Domestic

  Violence trial part of the court, the People did not respond to Petitioner's wntten

  and oral motion and the Court did not give a ruling.

  Motion to Dismiss Indictment


        Motion made pursuant to C.P.L. §190.50 whether made by counsel or pro

  se Petitioner, mandates ruling or else court must clearly state its reasons for

  refusing to decide motion; motion may not be discounted simply because it is filed

  directly by Petitioner at a time when he was represented by counsel; in addition,

  motion to dismiss indictment that has been obtained in violation of provisions of

  GPL §190.50[5][a] must be granted upon timely motion to dismiss pursuant to

  GPL §190.50[5][c]; People v. Greenfield, 178 A.D.2d 653; People v. Evans. 79

  N.Y.2d 407; People v. Renaud. 145 A.D.2d 367, 370.

        In the instant case, on September 29, 1998, Petitioner submitted a pro-se

  motion to dismiss the said indictment #9283/98, pursuant to G.P.L. §190.50 [5][c],

  on the ground that he had been denied his right to testify before the Grand Jury; the

  motion stated that the People had been served with written noticed of Petitioner's

  intention to testify before the Grand Jury. Petitioner was not produced for the

  Grand Jury presentation, and he was not produced in court until after the People

  had already obtained said indictment #9283/98, a copy of the motion was sent to




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  the criminal court, motion was also served upon the People (Petitioner's Exhibit

  B).

        In May 1999, defense counsel James Koenig was assigned to this case. In

  June 1999, Petitioner communicated to defense counsel that two days after he was

  arrested, he had sent a written letter to the Kings County District Attorney, stating

  that he demands the right to testify in any Grand Jury proceedings concerning the

  allegations contained in the complaint against him, and that the People obtained a

  vote without affording him an opportunity to testify at the Grand Jury, and as a

  result, he had submitted a motion to dismiss the said indictment #9283/98, but had

  not heard anj^hing from the Court nor the prosecutor. Thereafter, defense counsel

  told Petitioner that the C.P.L. §190.50 motion have been already denied before he

  was assigned to this case.

  Failure to Turn Over Automatic Discovery

        Equally important, the People failed to turn over automatic discovery prior

  to the scheduled appearance date of the two weeks time stated in the People's

  responsive letter to Petitioner's timely service of C.P.L. §190.50 notice. C.P.L.

  §245.10 (l)(c) provides that the prosecution shall disclose statements of the

  Petitioner as described in paragraph (a) of subdivision one of section 245.20 of this

  article to any Petitioner who has been arraigned in a local criminal court upon a

  currently un-disposed of felony complaint charging an offense which is a subject


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  of a prospective or pending grand jury proceeding, no later than forty-eight hours

  before the time scheduled for the Petitioner to testify at a grand jury proceeding

  pursuant to subdivision five of section 190.50 ofthis part. This was the only part of

  Petitioner's motion to vacate that the court gave an opinion to.


        PETITIONER WAS DEPRIVED OF HIS RIGHT TO COURT
        APPOINTED ATTORNEY AT AN IN-COURT LINEUP
        IDENTIFICATION. U.S. CONST. SIX AND FOURTEENTH
         AMENDMENTS; NEW YORK CONST. ARTICLE 1, SECTION
        6.



        The lineup identification is a definite part or stage of a criminal prosecution

  in New York, and the plain language of the Sixth Amendment requires that, in all

  criminal prosecutions, the accused shall enjoy the right to have the assistance of

  counsel for his defense.


        On September 10, 1998, Petitioner was taken to criminal court and then to

  an in-court lineup identification without the presence of an attorney at the lineup

  identification. Here, the Petitioner is entitled to counsel at all critical stages of the

  criminal prosecution. People v. Settles. 46 N.Y.2d 154, 165. The right to counsel

  attaches, of course, once the criminal action has been commenced. People v. Blake.

  35 N.Y.2d 331, 339-340. But it may also attach at an earlier stage if there has been

  significant judicial activity. Thus, for instance, a court order directing that the

  Petitioner appear in a lineup People v. Coleman,43 N.Y.2d 222, may be sufficient

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  to trigger the right to counsel even though criminal action may not have formally

  commenced.


        Once the accusation has been made in court, the case is no longer merely a

  subject of investigation. It is a matter in litigation, and the New York Court of

  Appeals has noted, this is precisely the juncture at which legal advice is crucial and

  well recognized principle in civil litigation serves as an appropriate analogy. Once

  a matter is the subject of a legal controversy, any discussions relating thereto

  should be conducted by counsel at that point the parties are in no position to

  safeguard their rights. See, People v. Settles. 46 N.Y.2d 154, 163-164 supra.

        A Petitioner cannot waive his rights in the absence of counsel after a felony

  complaint has been filed in court, since the right to counsel attaches once the

  criminal action has been commenced and a criminal action commences with the

  filing of an accusatory instrument (C.P.L. §1.20 [17]), which includes a felony

  complaint(C.P.L. §1.20 [1],[8]).

        The Court-ordered lineup violated Petitioner's right to counsel because this

  lineup was conducted in the absence of counsel without a valid waiver. People v.

  Banks. 53 N.Y.2d 819(1981).

        In the instant case. Petitioner was entitled to court appointed counsel at the

  time of the in-court lineup identification, which he participated, and the failure to




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  provide such counsel violated Petitioner's rights under the Sixth and Fourteenth

  Amendments ofthe United States Constitution.

        New York Constitution, Article 1, Section 2, provides that for a waiver to be

  valid, it must be signed by the Petitioner in person in open court in the presence of

  the Court, and with the approval of the Court, C.P.L. §320.10 (2). The Petitioner

  signed no such waiver in relation to these matters.



        PETITIONER WAS DEPRIVED OF HIS RIGHT TO
        EFFECTIVE ASSISTANCE OF COUNSEL U.S. CONST.
        AMEND. SIXTH AND FOURTEENTH. NEW YORK CONST.
        ARTICLE 1,SEC.6


        C.P.L. §180.80, mandates the granting of an application for Petitioner's

  release on recognizance unless the hearing is commenced or proof that the Grand

  Jury has voted to charge the Petitioner is filed within a 120 hour period following

  commencement of custody. An additional twenty-four hours is allowed where a

  Saturday, Sunday, or legal holiday is involved but the total cannot exceed 144

  hours, even if the arrest occurred on a Sunday and Monday or is a legal holiday.

  Significantly, where custody was commenced by arrest, the hours start to tick away

  immediately and not simply upon commitment after arraignment. Accordingly,

  processing time and time awaiting arraignment are included in the computation.




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        In the instant case, on September 9, 1998, at about 1:30 p.m. Petitioner was

  arrested at a Pathmark Store in Brooklyn, Kings County. On September 9, 1998, at

  2:30 p.m.. Petitioner was taken to the 88*^ precinct in Brooklyn and who, since the
  time of his arrest, has been confined in such custody for a period of more than 144

  hours without either a disposition of the felony complaint or commencement of a

  hearing, and on September 25, 1998, Petitioner was indicted by the Kings County

  Grand Jury.

        Here, defense counsel deprived Petitioner of his due process right to

  effective assistance of counsel when he failed to make application for Petitioner's

  release on his recognizance. For instance, court assigned counsel Robert Newman

  from the Legal Aid Society, was the first attorney assigned to this case, and who

  was or should have been aware of the facts of this case. In particular, that the

  People have failed to satisfy C.P.L. §180.80, which requires the release of

  Petitioner being held in pretrial detention pending action of a Grand Jury after 120

  or 144 hours of custody.

  Arraignment Court Failed to Comply with the Law

        It is the mandate of C.P.L. §180.10 (sub 4): The Court must inform the

  Petitioner of all rights specified in subdivisions two and three. Perhaps even more

  important is the legislative mandate contained in the second sentence of C.P.L.

  §180.10(sub 4). The Court must accord the Petitioner opportunity to exercise such

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  rights and must itself take affirmative action as is necessary to effectuate them.

  Unless the statue has been compiled with no waiver of the right to a preliminary

  hearing can knowingly, intelligently and understanding^ have been given as a

  matter of law.


          The arraignment court did not complied with C.P.L. §180.10 in the

  following respects:

          1)    Under CPL 180.10 (sub 1) the Petitioner was not informed that the

  primary purpose of the proceedings upon such felony complaint was to determine

  whether he was to be held for action ofthe Grand Jury.

          2)    Under the same subdivisions of that section Petitioner was not

  furnished with a copy ofthe felony complaint.

          3)    Under the same section, subdivision two. Petitioner was not informed

  that he had a right to a prompt hearing upon the issue of whether there was

  sufficient evidence to warrant the Court in holding him for the action of the Grand

  Jury.

          It is implicit in the statue that unless the Petitioner is informed of the

  primary purpose of the proceeding that no proper foundation has been laid for the

  acceptance of a waiver of a preliminary hearing as is the failure to inform the

  Petitioner that he is entitled to a prompt hearing on the issue.




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                                      GROUNDI


        THE STATE COURT'S DECISION WAS CONTRARY TO
        CLEARLY   ESTABLISHED   FEDERAL   LAW   AS
        DETERMINED BY THE SUPREME COURT OF THE UNITED
        STATES.

        When the State Court denied Petitioner's collateral motion to vacate the

  conviction in a one-line decision that read: "Your motion was denied by Justice

  Rodriguez," it violated both Petitioner's right under the due process doctrine and

  the strictures of28 U.S.C.A. §2254(d)(l).

        A state-court decision is "contrary" to clearly established federal law, for

  purposes of federal habeas review, if the state court arrives at a conclusion

  opposite to that reached by the Supreme Court on a question of law or if the state

  decides a case differently than the Supreme court has on a set of materially

  indistinguishable facts. See, Scott v. Fisher. 65 F.Supp2d 380; citing William v.

  Tavlon 529 U.S. 362(2000).

        When the court offered no opinion on the facts and legal argument offered in

  Petitioner's motion to vacate and then denied the motion using just one line, it

  clearly ruled "contrary to" United States Supreme Court case law in several lines

  of court precedents. The court clearly failed to rule on Petitioner's CPL §§180.10

  and 180.80 issues.


        Petitioner submits that this action taken by the court was a substantive due

  process violation; as the action was arbitrary in nature.
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        Since the times of the Supreme Court's explanation of due process, it has

  defined the core concept ofthe Due Process protection against arbitrary action.

        In 1819, the Court held:

        The principal and true meaning of the phrase has never been more
        tersely or accurately stated than by Mr. Justice Johnson, in Band of
        America v. Qkelv, 17 U.S. 235 (1819); "as to the words from Magna
        Carta, incorporated into the Constitution of Maryland, after volumes
        spoken and written with a view to their exposition, the good sense of
        mankind has at last settled down to this: That they were intended to
        secure the individual from the arbitrary exercise of the powers of
        government, unrestrained by the established principles of private right
        and distributive justice." Hurtado v. California, 110 U.S. 516(1884).

        In 1974 the court stated that "the touchstone of due process is protection of

  the individual against arbitrary action of government," Wolff v. McDonnell 418

  U.S. 539 (1974). This is so whether petitioner has suffered the denial of

  fundamental procedural fairness See, Fuentes v. Shevin. 407 U.S. 67 [1972]); or

  the violation came as a result of the exercise of the government's power without

  any reasonable justification in the service of a legitimate governmental objective

  (See, Daniel v. Williams. 474 U.S. 327 [1986]).

        This action is enshrined in the United          States Constitution's First

  Amendment: providing that the people have the right to "petition the Government

  for a redress of grievances."




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        This provision of the First Amendment has been incorporated into the

  Fourteenth Amendment to the United States Constitution and is therefore

  applicable to the states. See, Nicholson v. Moran.835 F.Supp 692(1993).



  PETITIONER WAS DEPRIVED OF HIS CONSTITUTIONAL AND
  STATUTORY RIGHTS TO BE PRESENT AT ALL MATERIAL STAGES OF
  TRIAL. U.S. Const. Amend. XIV; N.Y. Const. Art. I §6; CPL §260.20

        The grand jury proceeding was a material stage of trial at which petitioner

  certainly could have made a valuable contribution. Thus, Petitioner had a right to

  be present at that proceeding and his absence violated his statutory right to be

  present at all material stages of trial. Further, as the hearing implicated petitioner's

  ability to fully defend against the charges, his absence was also a violation of his

  constitutional due process right to be present.

        Additionally, the due process clause of the federal constitution requires that

  a defendant be present whenever his presence has a reasonably substantial relation

  to the fullness of his opportunity to defend against the charges, Snvder v.

  Massachusets. 291 U.S. 97(1936).

        Thus, the grand jury proceeding clearly had a reasonably substantial

  relationship to the fullness of his opportunity to defend against the charges, and

  petitioner's absence was a violation, not only of CPL §260.20, but of due process.

  Kentuckv v. Stincen 482 U.S. 730,(1987).


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        Moreover, petitioner did not waive his right to be present at the grand jury

  proceeding, either expressly or implicitly. There was nothing in the record to

  indicate that petitioner was voluntarily absent from the grand jury proceeding, or

  that he retroactively acquiesced to defense counsel's waiver of his presence. In

  short, on this silent record, there was no knowing and voluntarily waive of his

  right. Because Petitioner was absent during a material part of the grand jury

  pursuant to CPL §260.20 harmless error analysis is not appropriate.

        In sum, petitioner's absence from this material proceeding, which concerned

  factual matters about which he had peculiar knowledge and in which he therefore,

  could have meaningfully participated, was a deprivation of his statutory right to be

  present. CPL §260.20, as well as his constitutional right to be present. Kentuckv v.

  Stincen 482 U.S. 730, 754(1987).

        The court has held in William v. Tavlon 529 U.S. 362, that a decision based

  on a legal misunderstanding was not animated by strategic calculation.

        Error that seriously affect the fairness, integrity or public reputation of

  judicial proceedings should no doubt be corrected. United States. V. Atkins^ 297

  U.S. 157 (1936); Sawver v. Whitlev. 505 U.S. 333; Townsend v. Burkv. 334 U.S.

  736 (1948), recognizes due process requires that convicted person not be held

  incarcerated on materially untrue, assumption or misinformation.




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             STATUTE OF LIMITATION AND GATEWAY CLAIM

        Petitioner was delayed from filing the within habeas corpus. For instance,

  between 1998-2000, while defendant was at the Detention Center on Rikers Island,

  he gave a certain portion of his personal and legal documents including a copy of

  the said motion to dismiss Indictment #9283/98, and a copy of the written letter of

  notice to testify at the grand jury that was in his possession, to a friend for safe

  keeping, who later moved out of state without providing petitioner with a mailing

  address, or any other form of contact information where he could be reached. In

  the meantime, petitioner has sought diligently to locate said person, but was

  unsuccessful until recently with the help from a third party, petitioner and retrieved

  said documents.


        The instant petition for a writ of habeas corpus pursuant to 28 U.S.C.A.

  §2254 contains exhausted claims.

        The United States Supreme Court has applied the miscarriage of justice

  exception to overcome procedural defaults. See, Kuhlmann v. Wilson. 477 U.S.

  436(1986).

        The miscarriage of justice exception survived the AEDPA's passage. The

  court found in Calderon v. Thompson, 523 U.S. 538(1998) that the miscarriage of

  justice exception held that a federal court may, consistent with AEDPA, recall its

  mandate in order to revisit the merits of a decision; stating at 558 that: "The


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  miscarriage of justice standard is altogether consistent ... with AEDPA's central

  concern that the merits of concluded criminal proceedings not be revisited in the

  absence of a strong showing of actual innocence."

        The Court also ruled in House v. BelL 547 U.S. 579(2006)that a prisoner's

  proof of actual innocence may provide a gateway for federal habeas review of a

  procedurally defaulted claim of constitutional error.       at 537-538.

        Petitioner submits that the claim of innocence being made in the case at bar

  is a procedural one rather than a substantive one. See, Schlup v. Delo. 513 U.S.

  298, 3145 (1995). Petitioner further submits that like Schlup, the constitutional

  claims are based upon the contentions raised in the petition within under "Grounds

  Raised." Id-j @314.

        Also like Schlup. petitioner contents that he falls within the "narrow class of

  cases ... implicating a fundamental miscarriage ofjustice." See, Schlup. supra @

  314-315, quoting McCleskev v. Zant.499 U.S. 467,494(1991).

        The claim of innocence being brought herein is "not itself a constitutional

  claim, but instead a gateway through which a habeas petitioner must pass to have

  his otherwise barred constitutional claim[s] considered on the merits. See, Herrera

  V. Collins. 506 U.S. 390,404(1993).

        The "fundamental miscarriage of justice exception is grounded in the

  'equitable discretion' of[this court] to see that federal constitutional errors do not

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 result in the incarcerating of innocent persons." Herrera, supra @ 404; citing
  McCleskv. supra @ 502.

        Chief Justice Rehnquist also wrote in Herrera @ 404 that: "But this body of
  our habeas jurisprudence makes clear that a claim of actual innocence is not
  itself a constitutional claim, but instead a gateway through which a habeas
  petitioner must pass to have his otherwise barred constitutional claim considered
  on the merits."

         Petitioner presents salient claims to the court. These claims could not be
  raised prior to petitioner retrieving his legal documents after giving them to a third
  party for safe keeping.

         After retrieving same, Petitioner presented these issues to the State court.
   Succinctly, and as laid out within, petitioner made a written request to testify at the
   grand jury. This request fell on the deaf ears of the District Attorney's Office. The
   trial court then erroneously denied Petitioner's motion to dismiss the indictment.
   The People failed to disclose Discovery in the form of statements alleged to be
   made by Petitioner. Petitioner was deprived of his indelible right to counsel when a
   line-up was conducted without counsel.
          Petitioner has no future sentence to serve after his completion of the
   sentence imposed by the judgment under attack.



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        On May 4, 2023, Petitioner handed the within petition in a properly labeled

  and sealed envelope to prison officials at the Green Haven Correctional Facility.

  Petitioner's petition for a Writ of Habeas Corpus is deemed filed at the moment it

  was turned over to prison officials to be forwarded to the Northern District Court

  of New York State.(Houston v. Lack. 487 U.S. 266; Fallen v. United States, 378

  U.S. 139.




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       WHEREFORE, Petitioner prays that the court grant petitioner relief to
 which he may be entitled in this proceeding.

 I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING
 IS TRUE AND CORRECT.

 EXECUTED ON May 4,2023


                                                    Clement Lowe
                                                    Petitioner, Pro Se
                                                    DIN# OO-A-2910
                                                    Green Haven Correctional
                                                    Facility
                                                    P.O. Box 4000
                                                    Stormville, N.Y. 12582



  I DECLARE UNDER PENALTY OF PERJURY THAT I, CLEME
  LOWE DELIVERED THIS PETITION TO PRISON AUTHORITIES TO
  BE MAILED TO THE UNITED STATES DISTRICT COURT FOR THE
  EASTERN DISTRICT OF NEW YORK


                                                     Clement Lowe
                                                     Petitioner, Pro Se




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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
                                                -X


  CLEMENT LOWE,DIN# OO-A-2910

                            Plaintiff,                       Certificate of Service


        -against-


  MARK MILLER,Superintendent ofthe
  Green Haven Correctional Facility,

                            Respondent.
                                                ■X


        I, Clement Lowe, hereby certify under penalty of peijury that the foregoing
  is true and correct:

        I am over eighteen years of age and reside at Green Haven Correctional
  Facility, P.O. Box 4000, Stormville, New York.
        On May 4, 2023, I served the within PETITION FOR A WRIT OF
  HABEAS CORPUS by depositing true copies thereof enclosed in a postpaid
  wrapper in an official depository under the exclusive control of the U.S. Postal
  Services within the State of New York and addressed as follows: Letitia James,

  New York State Attornev GeneraL Department of Law, The Capitol. Albanv^

  N.Y. 12582




  Dated: May 4, 2023
        Stormville, New York

                                                     Clement Lowe, Pro Se

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